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     LATANYA WILLIAMS
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                Case No.:
     LATANYA WILLIAMS,
11                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                  RELIEF AND DAMAGES FOR DENIAL
12            vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                                  PERSON IN VIOLATIONS OF
13
                                                  1. AMERICANS WITH DISABILITIES;
14
     JADE DEVELOPMENT, INC.; and DOES             2. CALIFORNIA’S UNRUH CIVIL
15   1 to 10,                                     RIGHTS ACT;
16                  Defendants.                   3. CALIFORNIA’S DISABLED
                                                  PERSONS ACT;
17
                                                  4. CALIFORNIA HEALTH & SAFETY
18                                                CODE;
19                                                5. NEGLIGENCE
20
21
22
23
24
25            Plaintiff LATANYA WILLIAMS (“Plaintiff”) complains of Defendants JADE

26   DEVELOPMENT, INC.; and DOES 1 to 10 (“Defendants”) and alleges as follows:

27   //

28   //



                                          COMPLAINT - 1
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 1                                             PARTIES
 2           1.    Plaintiff is a California resident with a physical disability. Plaintiff is
 3   substantially limited in her ability to walk. Plaintiff is a paraplegic due to T9 spinal cord
 4   injury and requires the use of a wheelchair at all times when traveling in public.
 5           2.    Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a car wash and
 7   convenience store (“Business”) located at or about 3430 Grand Ave., Chino Hills,
 8   California.
 9           3.    The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16           4.    Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21           5.    Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26           6.    The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.)



                                              COMPLAINT - 2
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, San Bernardino
 8   County, California, and Plaintiff’s causes of actions arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about March of 2022, Plaintiff went to the Business. Defendants
11   provide parking spaces for customers.
12         11.    The Business is a car wash and convenience store business establishment,
13   open to the public, and is a place of public accommodation and affects commerce through
14   its operation.
15         12.    While attempting to enter the Business during each visit, Plaintiff personally
16   encountered a number of barriers that interfered with her ability to use and enjoy the
17   goods, services, privileges, and accommodations offered at the Business.
18         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
19   included, but were not limited to, the following:
20                a.     Defendants failed to comply with the federal and state standards for
21                       the parking space designated for persons with disabilities. Defendants
22                       failed to post required signage such as “Minimum Fine $250.”
23                b.     Defendant failed to maintain the parking space designated for persons
24                       with disabilities to comply with the federal and state standards.
25                       Defendants failed to paint the ground as required.
26                c.     Defendant failed to maintain the parking space designated for persons
27                       with disabilities to comply with the federal and state standards.
28




                                            COMPLAINT - 3
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 1                       Defendants failed to provide a proper ramp for the persons with
 2                       disabilities.
 3                d.     Defendant failed to maintain the parking space designated for persons
 4                       with disabilities to comply with the federal and state standards.
 5                       Defendants failed to provide the access aisles with level surface
 6                       slopes.
 7         14.    These barriers and conditions denied Plaintiff the full and equal access
 8   to the Business and caused her difficulty and frustration. Plaintiff wishes to return and
 9   patronize the Business, however, Plaintiff is deterred from visiting the Business because
10   her knowledge of these violations prevents her from returning until the barriers are
11   removed.
12         15.    Based on the violations, Plaintiff alleges, on information and belief, that
13   there are additional barriers to accessibility at the Business after further site inspection.
14   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
15   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
16         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
17   knew that particular barriers render the Business inaccessible, violate state and federal
18   law, and interfere with access for the physically disabled.
19         17.    At all relevant times, Defendants had and still have control and dominion
20   over the conditions at this location and had and still have the financial resources to
21   remove these barriers without much difficulty or expenses to make the Business
22   accessible to the physically disabled in compliance with ADDAG and Title 24
23   regulations. Defendants have not removed such barriers and have not modified the
24   Business to conform to accessibility regulations.
25                                   FIRST CAUSE OF ACTION
26       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
27         18.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                            COMPLAINT - 4
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 1         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 2   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 3   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 4   public accommodation by any person who owns, leases, or leases to, or operates a place
 5   of public accommodation. See 42 U.S.C. § 12182(a).
 6         20.    Discrimination, inter alia, includes:
 7                a.    A failure to make reasonable modification in policies, practices, or
 8                      procedures, when such modifications are necessary to afford such
 9                      goods, services, facilities, privileges, advantages, or accommodations
10                      to individuals with disabilities, unless the entity can demonstrate that
11                      making such modifications would fundamentally alter the nature of
12                      such goods, services, facilities, privileges, advantages, or
13                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                b.    A failure to take such steps as may be necessary to ensure that no
15                      individual with a disability is excluded, denied services, segregated or
16                      otherwise treated differently than other individuals because of the
17                      absence of auxiliary aids and services, unless the entity can
18                      demonstrate that taking such steps would fundamentally alter the
19                      nature of the good, service, facility, privilege, advantage, or
20                      accommodation being offered or would result in an undue burden. 42
21                      U.S.C. § 12182(b)(2)(A)(iii).
22                c.    A failure to remove architectural barriers, and communication barriers
23                      that are structural in nature, in existing facilities, and transportation
24                      barriers in existing vehicles and rail passenger cars used by an
25                      establishment for transporting individuals (not including barriers that
26                      can only be removed through the retrofitting of vehicles or rail
27                      passenger cars by the installation of a hydraulic or other lift), where
28                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).



                                           COMPLAINT - 5
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 1                d.     A failure to make alterations in such a manner that, to the maximum
 2                       extent feasible, the altered portions of the facility are readily
 3                       accessible to and usable by individuals with disabilities, including
 4                       individuals who use wheelchairs or to ensure that, to the maximum
 5                       extent feasible, the path of travel to the altered area and the
 6                       bathrooms, telephones, and drinking fountains serving the altered
 7                       area, are readily accessible to and usable by individuals with
 8                       disabilities where such alterations to the path or travel or the
 9                       bathrooms, telephones, and drinking fountains serving the altered
10                       area are not disproportionate to the overall alterations in terms of cost
11                       and scope. 42 U.S.C. § 12183(a)(2).
12         21.    Where parking spaces are provided, accessible parking spaces shall be
13   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
14   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
15   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
16   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
17   be van parking space. 2010 ADA Standards § 208.2.4.
18         22.    Under the ADA, the method and color of marking are to be addressed by
19   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
20   Building Code (“CBC”), the parking space identification signs shall include the
21   International Symbol of Accessibility. Parking identification signs shall be reflectorized
22   with a minimum area of 70 square inches. Additional language or an additional sign
23   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
24   parking space identification sign shall be permanently posted immediately adjacent and
25   visible from each parking space, shall be located with its centerline a maximum of 12
26   inches from the centerline of the parking space and may be posted on a wall at the
27   interior end of the parking space. See CBC § 11B-502.6, et seq.
28




                                            COMPLAINT - 6
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 1         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 2   each entrance to an off-street parking facility or immediately adjacent to on-site
 3   accessible parking and visible from each parking space. The additional sign shall not be
 4   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 5   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 6   designated accessible spaces not displaying distinguishing placards or special license
 7   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 8   See CBC § 11B-502.8, et seq.
 9         24.    Here, Defendants failed to provide signs stating “Minimum Fine $250.”
10         25.    For the parking spaces, access aisles shall be marked with a blue painted
11   borderline around their perimeter. The area within the blue borderlines shall be marked
12   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
13   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
14   be painted on the surface within each access aisle in white letters a minimum of 12 inches
15   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
16   11B-502.3.3.
17         26.    Here, Defendants failed to properly maintain the access aisles as there was
18   no “NO PARKING” painted on the parking surface.
19         27.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
20   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
21   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
22   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
23   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
24   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
25   along accessible routes and in accessible rooms and spaces including floors, walks,
26   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
27   4.5. 1991 Standards § 4.5.1.
28         28.    Here, Defendants failed to provide a compliant ramp for the access aisle.



                                           COMPLAINT - 7
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 1         29.      Under the 1991 Standards, parking spaces and access aisles must be level
 2   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 3   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 4   shall be part of an accessible route to the building or facility entrance and shall comply
 5   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 6   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 7   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 8   directions. 1991 Standards § 4.6.3.
 9         30.      Here, the access aisle is not level with the parking space. Under the 2010
10   Standards, access aisles shall be at the same level as the parking spaces they serve.
11   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
12   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
13   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
14         31.      A public accommodation shall maintain in operable working condition those
15   features of facilities and equipment that are required to be readily accessible to and usable
16   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
17         32.      By failing to maintain the facility to be readily accessible and usable by
18   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
19   regulations.
20         33.      The Business has denied and continues to deny full and equal access to
21   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
22   discriminated against due to the lack of accessible facilities, and therefore, seeks
23   injunctive relief to alter facilities to make such facilities readily accessible to and usable
24   by individuals with disabilities.
25                                 SECOND CAUSE OF ACTION
26                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
27         34.      Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 8
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 1         35.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3   national origin, disability, medical condition, genetic information, marital status, sexual
 4   orientation, citizenship, primary language, or immigration status are entitled to the full
 5   and equal accommodations, advantages, facilities, privileges, or services in all business
 6   establishments of every kind whatsoever.”
 7         36.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9   for each and every offense for the actual damages, and any amount that may be
10   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12   attorney’s fees that may be determined by the court in addition thereto, suffered by any
13   person denied the rights provided in Section 51, 51.5, or 51.6.
14         37.    California Civil Code § 51(f) specifies, “a violation of the right of any
15   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16   shall also constitute a violation of this section.”
17         38.    The actions and omissions of Defendants alleged herein constitute a denial
18   of full and equal accommodation, advantages, facilities, privileges, or services by
19   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21   51 and 52.
22         39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24   damages as specified in California Civil Code §55.56(a)-(c).
25                                  THIRD CAUSE OF ACTION
26                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27         40.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 9
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 1         41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         43.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         44.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
28




                                           COMPLAINT - 10
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 1         45.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         46.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         47.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         49.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
28   //



                                           COMPLAINT - 11
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 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3          50.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8          52.    Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12                                     PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14   Defendants as follows:
15          1.     For preliminary and permanent injunction directing Defendants to comply
16   with the Americans with Disability Act and the Unruh Civil Rights Act;
17          2.     Award of all appropriate damages, including but not limited to statutory
18   damages, general damages and treble damages in amounts, according to proof;
19          3.     Award of all reasonable restitution for Defendants’ unfair competition
20   practices;
21          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22   action;
23          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24          6.     Such other and further relief as the Court deems just and proper.
25   //
26   //
27   //
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                                            COMPLAINT - 12
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: May 6, 2022                      SO. CAL. EQUAL ACCESS GROUP
 6
 7                                           By:    _/s/ Jason J. Kim____________
                                                    Jason J. Kim, Esq.
 8                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 13
